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 6
                                     UNITED STATES DISTRICT COURT
 7
                                    SOUTHERN DISTRICT OF CALIFORNIA
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 9        UNITED STATES OF AMERICA,                     Case No.             11, r                              l fY y-                .J1.u"1
10                      Plaintiff,                      I N F 0 R MA T I 0 N
11
                v.                                      Title 18, u.s.c., Sec. 371 -
12                                                      Conspiracy; Title 18, U.S.C.,
          JOHN WORKMAN,                                 Sec. 981 (a) (1) (C) and
13                                                      Title 28, U.S.C., Sec. 246l(c) -
                       Defendant.                       Criminal Forfeiture
14

15

16 11          The United States charges, at all times relevant:

17   II                                           Count 1

18   II CONSPIRACY      TO COMMIT HEALTH CARE FRAUD, HONEST SERVICES MAIL FRAUD AND

19                              VIOLATE THE TRAVEL ACT, 18                use       § 371
20            1.       Beginning no later than 2005 and continuing through at least

21112015,           within   the    Southern    District     of           California                                            and             elsewhere,

22 11 defendant        JOHN WORKMAN did        knowingly and intentionally conspire with

23   II   others to:
24             a.      commit Health Care Fraud,        that is,           to knowingly and with the

2511intent to defraud execute a material scheme to defraud a health care

2611benefit          program,      and   to   obtain   by   means          of                 materially                                         false     and

27 II fraudulent pretenses,              representations,    and promises,                                                    any of the money

28 II and property owned by,              and under the custody and control of a health
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 1        care benefit program, in connection with the delivery of and payment for

 2        heal th care benefits,      i terns,   and services,      in viola ti on of Title 18,

 3        United States Code, Section 1347; and

 4             b.      commit Honest Services Mail Fraud, that is, to knowingly and

 5        with the intent to defraud, devise and participate in a material scheme

 6        to defraud and to deprive patients of the intangible right to a doctor's

 7        honest    services,   and   to   cause   mailings    in    furtherance     thereof,    in

 8        violation of Title 18, United States Code, Sections 1341 and 1346.

 9                                         FRAUDULENT PURPOSE

10            2.       It was the goal of the conspiracy to fraudulently obtain money

11   If   from health care benefit programs by submitting claims for medical goods

12 II and services that were generated through a secret pattern of bribes to

13 lldoctors (and those acting with them and on their behalf), to induce the

14 lldoctors to refer patients to particular providers,                    in violation of the

15 II doctors' fiduciary duty to their patients.

16 II         3.       To carry out their purpose, Defendant and his co-conspirators

17 II submitted and caused to be submitted claims of over $16.9 million for

18 11 "shockwave"        treatments     procured     through   the    payment   of   bribes     and

19        kickbacks.

2O            4.       As an essential part of the scheme,             the Providers used the

21 llmail to submit claims and other documents to insurers,                     and to receive

22 llpayment on those claims.

23                                               OVERT ACT

24            5.       In furtherance of the conspiracy and in order to effect the

25 II objects thereof,          Defendant committed or caused the commission of the

26 II following overt act in the Southern District of California and elsewhere:

27 II On November 5, 2010, shockwave provider FOREMOST SHOCKWAVE SERVICES, LEE

28 llMATHIS, and FERNANDO VALDES paid Defendant $13,139.66 for patient Petra

                                                     2
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 1 llT.,     a patient of Dr. H's clinic in Corona,                               knowing and intending that

 2 II Defendant would pay Dr. H part of that money as a kickback for referring

 3 II the patient to FOREMOST for shockwave treatment.

 4 II         All in violation of Title 18, United States Code, Section 371.

 5 II                                       FORFEITURE ALLEGATION

 6           6.     Upon conviction of the offense of Conspiracy as alleged in

 7 II Count 1, defendant JOHN WORKMAN shall forfeit to the United States all

 8 II right,      title,       and    interest     in    any property,                    real       or   personal,      that

 9llconstitutes or is derived from proceeds traceable to a violation of such

10 II offenses,     including a sum of money equal to the total amount of gross

11 llproceeds derived, directly or indirectly, from such offenses.

12           7.     If any of the above described forfeitable property, as a result

13 llof any act or omission of defendant JOHN WORKMAN:                                       (a) cannot be located

14 II upon the exercise of due diligence;                         (b) has been transferred or sold to,

15 II or    deposited         with,    a   third    party;          ( c)        has       been       placed     beyond   the

16 II jurisdiction of the              Court;      (d)   has       been substantially diminished in

17 llvalue; or         (e)    has been commingled with other property which cannot be

18 II divided without            difficulty;       it    is       the          intent      of    the      United   States,

19llpursuant to Title 21, United States Code, Section 853(p)                                               and Title 18,

20 II United States           Code,    Section 982 (b) ,            to         seek forfeiture             of    any other

21 II property of defendants JOHN WORKMAN up to the value of the forfeitable

22 llproperty described above.

23 II All pursuant to Title 18, United States Code, Section 981 (a) (1) (C)                                               and

24 llTitle 28, United States Code, Section 2461(c).

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              DATED:         July 11, 2017.                              ALANA W. ROBINSON
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                                                                         VALERIE H. C:H
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28                                                                       Assistant U.S. Attorney
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